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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Northern District
                                                __________  DistrictofofCalifornia
                                                                         __________


               U.S.A., ex rel. FALLON, et al.                    )
                             Plaintiff                           )
                                v.                               )      Case No.   3:16-cv-06994-TSH
         BELL TRANSIT CORPORATION, et al.                        )
                            Defendant                            )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant Bell Transit Corporation                                                                           .


Date:          06/01/2020                                                                  /s/ Kaylen Kadotani
                                                                                            Attorney’s signature


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